[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 16 
This is a proceeding by mandamus on relation of the Attorney General and the Railroad Commissioners of the State of Florida, seeking to require the respondent, Atlantic Coast Line Railroad Company, to restore its tracks along the line of its railroad extending from Yuste to Monticello in Jefferson County, Florida, a distance of from five to six miles, and to maintain the *Page 17 
same and to restore the schedule and train service over said line of railroad that was in effect prior to the 25th day of August, A.D. 1927. The material allegations of the alternative writ are as follows:
"That the respondent is a common carrier operating a branch line of railroad within the State of Florida known as the Yuste to Monticello branch, being part of a line of railroad formerly known as the Thomasville, Georgia-Monticello, Florida branch; that that portion of this line within the State of Florida was constructed and built under a charter granted by the State of Florida to the Savannah, Florida and Western Railway by Chapter 3794, Laws of Florida, 1897; that this franchise was purchased by the Atlantic Coast Line in 1902, and that the Atlantic Coast Line Railroad Company had operated said line up to and until the 25th day of August, 1927, since which date the respondent has failed to operate said line, and did without notice and without the consent of the Railroad Commission of Florida, abandon and cease operating its trains over that part of its Thomasville, Georgia-Monticello, Florida branch running from Yuste to Monticello; that it took up this line entirely, abolished depots or station agencies, and has since August 25th, 1927, deprived the Town of Monticello, Florida, of railroad facilities which it had had; that this action on the part of the Atlantic Coast Line Railroad Company has resulted in confusion, inconvenience, hindrance, delays and injury to the public generally in the State of Florida; that the people of the State of Florida are without remedy in the premises unless it be afforded by the interposition of this Court through a writ of mandamus. The alternative writ directs respondent to restore its tracks, the train service, schedules, etc., until permission shall have been lawfully obtained from the proper *Page 18 
authorities authorizing such discontinuance and abandonment, or to show cause why it refuses so to do."
Respondent moved to quash the alternative writ. The motion to quash recites seventeen grounds all of which are predicated on: (1) misjoinder of parties relators; (2) relators have their remedy at law; (3) this Court is without jurisdiction of the cause and (4) the State of Florida and the Railroad Commission of Florida are without authority to regulate the subject matter involved.
It is first contended by respondent that the Railroad Commissioners of Florida are improper parties relators to this cause.
In the instant case mandamus is sought to require the performance of a public duty. The rule seems well settled that where mandamus is invoked for the enforcement of a purely private right the State is not a necessary party and all proceedings must be conducted in the name of the actual parties in interest. 18 R. C. L. 323, 14 Am.  Eng. Ency. of Law, 218, and cases cited. But where the question is one of public right and the object of the mandamus is to procure the enforcement of a public duty, the relator need not show that he has any legal or special interest in the result, it being sufficient that he is interested as a citizen in having the law executed and the duty in question enforced. State v. Crawford, 28 Fla. 441, 10 So.2d 118, 14 L. R. A. 253; Florida Central Railroad Company v. State, 31 Fla. 482, 13 So.2d 103, 34 A. S. R. 30, 20 L. R. A. 419, 18 R. C. L. 325, and cases there cited. 14 Am.  Eng. Ency. of Law, 218. Cases in which questions of public right are primarily involved should as a rule be brought in the name of the people, the person instituting the proceeding appearing as relator. It is also fitting, but not essential, that such cases be inaugurated by the Attorney General, or with his consent or that the refusal of that officer to act be *Page 19 
shown. State ex rel. Attorney General v. Johnson, 30 Fla. 433, 11 So.2d 845, 18 L. R. A. 410; Northern Pacific Ry. Co. v. Washington Territory, 142 U.S. 492, 18 R. C. L. 324.
The authority of the Attorney General to institute this proceeding is not questioned. We think that in view of the rule here announced and in view of the power vested in the Railroad Commission by Section 4618, Revised General Statutes of Florida, as amended by Chapter 8469, Acts of 1921, to regulate schedules, freight and passenger service and other matters pertaining to common carriers it was proper for the Railroad Commissioners in the interest of or as representatives of the people to be made parties hereto.
In addition to the foregoing it is not out of place to state in this connection that paragraph 20 of Section 1 of the Interstate Commerce Act, as amended by the Transportation Act of 1920, is ample authority for making the Railroad Commissioners of Florida parties relators to this cause, the pertinent part of said paragraph 20 of Section 1 being as follows:
"Any construction, operation or abandonment contrary to the provisions of this paragraph or of paragraph (18) or (19) of this Section may be enjoined by any Court of competent jurisdiction at the suit of the United States, the Commission, any commission or regulatory body of the State or States affected, or any party in interest."
A careful study of the Interstate Commerce Act, as amended by the Transportation Act of 1920, discloses that this provision was put in that Act for the express purpose of authorizing the various Railroad Commissions, or such other regulatory bodies as the state might have, to become parties to suits to enjoin construction, operation or abandonment contrary to the provisions of the named paragraphs of said Act. We are cognizant of the fact that the *Page 20 
Act uses the word "enjoined" in referring to the relief granted, but we do not consider this use here limited to the technical meaning of that term.
It is next contended by respondent that relators have (1) an adequate remedy at law, (2) that this Court is without jurisdiction to make any order affecting the subject matter of the alternative writ, and (3) the State of Florida and the Railroad Commission of Florida are without authority to regulate the subject matter involved.
On account of the interblend of law and fact touching these three questions we will treat them together, the answer to one being the answer to all. It is strongly urged upon us by respondent that under the provisions of the Interstate Commerce Act the subject matter of litigation here brought in question is one of regulation that Congress has vested in the Interstate Commerce Commission, that State nor Federal Courts have any jurisdiction in the premises, and that relators should have gone to the Interstate Commerce Commission for relief. The point to these questions is dissolved by an interpretation of certain portions of paragraphs 17, 18, 19, 20 and 22 of Section 1 of the Interstate Commerce Act, as amended by the Transportation Act of 1920, said portions being as follows:
(17). * * * Provided, however, that nothing in this Act shall impair or affect the right of a State, in the exercise of its police power, to require just and reasonable freight and passenger service for intrastate business, except in so far as such requirement is inconsistent with any lawful order of the Commission made under the provisions of this Act.
(18). After ninety days after this paragraph takes effect no carrier by railroad subject to this Act shall undertake the extension of its line of railroad, or the construction of a new line of railroad, or shall acquire or operate *Page 21 
any line of railroad, or extension thereof, or shall engage in transportation under this Act over or by means of such additional or extended line of railroad, unless and until thereshall first have been obtained from the Commission a certificate that the present or future public convenience and necessity require or will require the construction, or operation, or construction and operation of such additional or extended line of railroad, and no carrier by railroad subject to this Act shall abandon all or any portion of a line ofrailroad, or the operation thereof, unless and until thereshall first have been obtained from the Commission acertificate that the present or future public convenience andnecessity permit of such abandonment.
(19). The application for and issuance of any such certificate shall be under such rules and regulations as to hearings and other matters as the Commission may from time to time prescribe, and the provisions of this act shall apply to all such proceedings. Upon receipt of any application for such certificate the Commission shall cause notice thereof to be given to and a copy filed with the Governor of each state in which such additional or extended line of railroad is proposed to be constructed or operated, or all or any portion of a line of railroad, or the operation thereof, is proposed to be abandoned, with the right to be heard as hereinafter provided with respect to the hearing of complaints or the issuance of securities; and said notice shall also be published for three consecutive weeks in some newspaper of general circulation in each county in or through which said line of railroad is constructed or operates.
(20). The Commission shall have power to issue such certificate as prayed for, or to refuse to issue it, or to issue it for a portion or portions of a line of railroad, or extension thereof, described in the application, or for the partial exercise only of such right or privilege, and may attach to *Page 22 
the issuance of the certificate such terms and conditions as in its judgment the public convenience and necessity may require.From and after issuance of such certificate and not before, the carrier by railroad may, without securing approval other than such certificate, comply with the terms and conditions contained in or attached to the issuance of such certificate and proceed with the construction, operation, or abandonment covered thereby. Any construction, operation, or abandonmentcontrary to the provisions of this paragraph or of paragraph
(18) or (19) of this Section may be enjoined by any court ofcompetent jurisdiction at the suit of the United States, theCommission, any commission or regulating body of the State orStates affected, or any party in interest.
(22). The authority of the Commission conferred by paragraphs (18) to (21), both inclusive, shall not extend to the construction or abandonment of spur, industrial, team, switching or side tracks, located or to be located wholly within one State, or of street, suburban, or interurban electric railways, which are not operated as a part or parts of a general steam railroad system of transportation."
The dominating purpose of the Interstate Commerce Act was to secure conformity to prescribed standards through examination and appreciation of the complex facts of transportation by the body created for that purpose; and as the Supreme Court of the United States has frequently said it would be destructive of the system of regulation defined by the Interstate Commerce Act if the Court without the preliminary action of the Interstate Commerce Commission were to undertake to pass upon the administrative questions which the Act has primarily confided to the Commission. Minnesota Rate Cases (Simpson v. Shepard)230 U.S. 352, 33 Sup. Ct. Rep. 729; Mitchell Coal  Coke *Page 23 
Co. v. Penna. Railway Co., 230 U.S. 247, 33 Sup. Ct. Rep. 916; Texas  Pacific Ry. Co. v. American Tie  Timber Co.,234 U.S. 138, 34 Sup. Ct. Rep. 885. In all these cases and many others we have examined on this question the preservation of uniformity and the prevention of discrimination in rates in interstate commerce, as defined in the Interstate Commerce Act, was the controlling principle leading the Court to its conclusion.
In State ex rel. Burr v. Seaboard Air Line Ry. Co., 89 Fla. 419, 104 So.2d 602, this Court held that under the Interstate Commerce Act, as amended by the Transportation Act of 1920, the Interstate Commerce Commission was vested with extraordinary power in the matter of regulating interstate commerce, but that there was still left a a clear field of operation for the states in the matter of requiring just and reasonable freight and passenger service for intrastate business so long as such requirements are not inconsistent with lawful orders of the Interstate Commerce Commission in the interest of interstate commerce, and that said Act should not be construed so as to prevent the state from exercising its police power to require adequate local facilities for intrastate passenger traffic reasonably necessary for the protection of the health, comfort, and convenience of the passengers.
It has been held that wherever the interstate and intrastate transactions of carriers are so related that the government of the one involves the control of the other, it is Congress, and not the state, that is entitled to prescribe the final and dominant rule. Atchison, T.  S. F. Ry. Co. v. Railroad Commission, 190 Cal. 214, 211 Pac. Rep. 460.
These holdings by the Federal Supreme Court, the Supreme Court of Florida, and the Supreme Court of California are amply supported by the spirit and substance of that part of paragraph 17 and paragraph 22 of Section *Page 24 
1 of the Interstate Commerce Act as amended by the Transportation Act of 1920, quoted in this opinion. Turning to the debate in Congress as presented in the Congressional Record incident to the passage of this Act, there can be no doubt that our National law-making body purposed therein to define a clear field of operation with extraordinary power imposed in the Interstate Commerce Commission to preserve uniformity and prevent discrimination in rates in interstate commerce, but along with this there is the equally evident purpose not to encroach on such matters as lie within the police power of the states to regulate; such as depots, joint use of terminals and reasonable freight and passenger service in intrastate commerce.
With these observations in mind let us examine the provisions of paragraphs 18, 19, and 20 of the Interstate Commerce Act here quoted which we think dissolve the point to the questions under discussion.
Paragraph 18 requires that before any railroad subject to that Act shall undertake any extension of its line, the construction of new lines, or shall acquire or operate any line of road or extension thereof, or shall engage in transportation under said Act over or by means of such additional or extended line of road, it shall first obtain from the InterstateCommerce Commission a certificate that the present or future public convenience and necessity require or will require the construction, or operation, or construction and operation, of such additional or extended line of railroad, and that no carrier by railroad subject to said Act "shall abandon all orany portion of a line of railroad, or the operation thereof,unless and until there shall first have been obtained from theCommission a certificate that the present or future publicconvenience and necessity permit of such abandonment." *Page 25 
Paragraph 19 provides that the application for an issuance of the certificate required by paragraph 18 shall be under rules and regulations prescribed by the Interstate Commerce Commission and that upon receipt of the application therefor, notice shall be given to the Governor of the State affected with the right to be heard as the Act provides and that said notice shall be published for three consecutive weeks in some newspaper of general circulation in each county, in or through which said line of railroad is constructed or operates.
Paragraph 20 provides that the Interstate Commerce Commission may issue the certificate as prayed for, or may deny it intoto, or may issue it with such restrictions or modifications as in the judgment of the Commission, public convenience and necessity may require. This paragraph further provides thatfrom and after the issuance of such certificate and not before
the carrier may without other approval proceed with the continuation, operation, or abandonment covered thereby and that "any construction, operation or abandonment contrary tothe provisions of this paragraph or of paragraph (18) or (19)of this Section may be enjoined by any court of competentjurisdiction at the suit of the United States, the Commission,any commission or regulating body of the state or statesaffected, or any party in interest."
We think that in view of these provisions the conclusion is inescapable that the acquirement of a certificate of convenience and necessity is a prerequisite to the abandonment on the part of a railroad company of any portion of its line of railroad and that the said Act clearly imposes the burden on the carrier by railroad to secure such certificate. When secured it is a complete defense to an action of this kind but until secured abandonment may be enjoined as provided in paragraph 20. *Page 26 
If this was exclusively a matter of rate regulation, administration or discrimination among interstate carriers, the Interstate Commerce Commission would undoubtedly be the forum in which this proceeding should be conducted, but such is not the case. We have here in its final analysis the question of whether or not a common carrier by railroad which comes within the purview of the quoted Federal Statute, can in defiance of the terms of its franchise with the State and prior to being authorized by the Interstate Commerce Commission to do so, abandon a portion of its line of railroad lying wholly within one State and which it constructed and has operated and maintained for many years. We think this question must be answered in the negative and that until relator has by appropriate proceedings before the Interstate Commerce Commission secured its certificate of convenience and necessity to abandon that portion of its road extending from Yuste to Monticello in Jefferson County this Court has jurisdiction of the parties and the subject matter and may determine whether such facts have been presented as constitute a cause of action. If this is not the rule a carrier may ad libitum abandon any portion of its road and leave the state and the patrons served by it helpless, as there appears to be no power in the Interstate Commerce Commission to enforce the reinstatement of all or any portion of an abandoned road.
We have found no cases directly in point, but the following support this view: State ex rel. Burr v. Seaboard Air Line Ry. Co., 89 Fla. 419, 104 So.2d 602; Great Northern Ry. Co. v. Merchants Elevator Co., 259 U.S. 285, 42 Sup. Ct. Rep. 477, 66 Law Ed. 943; Texas  Pacific Ry. Co. v. Gulf, Colorado  Santa Fe Ry. Co., 270 U.S. 266, 46 Sup. Ct. Rep. 263, 70 Law Ed. 578; Western  Atlantic Ry. Co. v. Georgia Public Service Commission, 267 U.S. 493, 45 Sup. Ct. Rep. 409, 69 Law Ed. 753; Texas v. Eastern Texas Ry. *Page 27 
Co., 258 U.S. 204, 42 Sup Ct. Rep. 281, 66 Law Ed. 566; Atchison T. . S. F. Ry. Co. v. Railroad Commissioners, et el.,190 Cal. 214, 211, 460.
It follows that the motion to quash the alternative writ must be and the same is hereby overruled, and the respondent allowed 30 days in which to plead further as it may be advised.
ELLIS, C. J., AND WHITFIELD, STRUM, BROWN AND BUFORD, J. J., concur.